       CASE 0:10-cr-00110-DWF-JJK            Doc. 85    Filed 10/05/10      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                   Criminal No. 10-110 (2) (RHK/JJK)

                       Plaintiff,                                     ORDER

v.

Lashun Danario Robinson,

                       Defendant.



       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated September 15, 2010. No objections have

been filed to that Report and Recommendation in the time period permitted. Based on the

Report and Recommendation of the Magistrate Judge, and on all of the files, records, and

proceedings herein, the Court now makes and enters the following Order.

       IT IS HERERBY ORDERED that:

       1. The Report and Recommendation (Doc. No. 84) is ADOPTED;

       2. Defendant’s Pretrial Motion to Suppress Statements, Admissions and Answers (Doc.

No. 33) is DENIED; and

       3. Defendant’s Pretrial Motion for Disclosure and Suppression of Evidence Derived

from Wiretaps (Doc. No. 38) is DENIED.


Dated: October 5, 2010
                                                           s/Richard H. Kyle
                                                           RICHARD H. KYLE
                                                           United States District Judge
